lash it: FA 3:42 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Maxwell Crosby Azzarello

Write the full name of each plaintiff.

-against-
See Attached

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section Il.

CV

{Include case number if one has been
assigned}

COMPLAINT

Do you want a jury trial?
Yes ONo

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual’s full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual's birth; a minor’s initials; and the last four digits of a financial account number.

See Federal Rule of Civil Procedure 5.2,

Rev. 1/9/17

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?

Cl Federal Question
LJ Diversity of Citizenship
A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

B. If you checked Diversity of Citizenship
1. Citizenship of the parties
Of what State is each party a citizen?

The plaintiff , Maxwell Azzarello , is a citizen of the State of
(Plaintiff's name)

Florida

{State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2
If the defendant is an individual:

The defendant, see attached , is a citizen of the State of

(Defendant's name)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of |

If the defendant is a corporation:

The defendant, , is incorporated under the laws of

the State of

and has its principal place of business in the State of

or is incorporated under the laws of (foreign state)

and has its principal place of business in

\f more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

II. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

Maxwell C Azzarello

First Name Middle Initial Last Name
260 St. George St., Apt. 11

Street Address

St. John's, St. Augustine FL 32084

County, City State , Zip Code
9044298454 forkintheworld@outlook.com
Telephone Number Email Address (if available}

Page 3
B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1:

Defendant 2:

Defendant 3:

See attached

First Name Last Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

County, City State Zip Code

First Narne Last Name

Current Job Title (ar other identifying information)

Current Work Address (or other address where defendant may be served)

County, City State Zip Cade

First Name Last Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served}

County, City State Zip Code

Page 4
Defendant 4:

First Name Last Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

County, City State Zip Code

IIE. STATEMENT OF CLAIM
Place(s) of occurrence: Various

iqa& Uc

Date(s) of occurrence: 2as-Present

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

' See attached

Page 5
INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

See attached

IV, RELIEF

State briefly what money damages or other relief you want the court to order.

Seventy five thousand dollars and one cent (or cryptocurrency equivalent).

Page 6

V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

Lagree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

4/13/2023

Dated Plaintiff's Sigh

Maxwell C Azzarello yo
First Name Middle Initial Last Name
260 St. George St., Apt. 11

Street Address

St. John's County, St. Augustine = FL 32084
County, City State Zip Code
904-429-8454 forkintheworld@outlook.com
Telephone Number Email Address (if available)

[have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
WMYes ONo

if you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7
Defendants List

Defendant Title Service Address Business State Incorporated State
Bill, Hillary & Chelsea Clinton
Foundation 1200 President Clinton Ave., Little Rack, AR 72201 Arkansas Arkansas
Bullfrog Capital 364 University Ave, Palo Alto, CA 94301 California California
i Letterman Dr Building D Ste 500, San Francisco, CA
CN2T Capital LLC 94129 California California
Emerson Collective
Investments, LLC 55 Bryant St Ste 259, Palo Alto, California, 94301 California California
Jeremy Stoppelman Trustee
UTD 3/16/10 140 New Montgomery St, San Francisco, United States :California California
Ribbit Capital 364 University Ave, Palo Alto, CA 94301 California California
Stanford University 616 Serra Mall 200, Stanford, CA 94305 California California
StartX 616 Serra Mall 200, Stanford, CA 94305 California California
The Marc R. Benioff Revocable
Trust U/A/D/ 12/03/2004 415 Mission St 3rd Floor, San Francisco California California
Binance George Town, 23 Lime Tree Bay Ave Cayman Islands Cayman Islands
Changpeng Zhao CEO, Binance 23 Lime Tree Bay Ave. Cayman Islands Cayman Islands
2012 MRL Investments LLC 650 California St., 12th Fl., San Francisco, CA 94108 California Delaware
Accel (formerly Accel Partners) 500 University Ave, Palo Alto, California, 94301 California Delaware
Affirm Holdings, Inc. 650 California St., 12th FI., San Francisco, CA 94108 California Delaware
Andreessen Horowitz 2865 Sand Hill Rd Ste 101, Menlo Park, CA 94025 California Delaware
Andrew McCollum CEO, Philo 772 Bryant St San Francisco, CA, 94107-1026 California Delaware
Binance.US 1 Letterman Dr #C3-800, San Francisco California Delaware
12332 Frontrunner Blvd Ste S00, San Francisco,
Brex, Inc. California, 84020 California Delaware
Cainbase 548 Market St. #23008, San Francisco, CA California Delaware
Co-founder, Open
Dustin Moskovitz Philanthropy 182 Howard Street #225 San Francisco, CA 94105 California Delaware

Page 1 of 7

Defendants List

Defendant Title Service Address Business State Incorporated State
3000 Sand Hill Road Building 4, Suite 230, Menlo Park,

GGV Capital CA 94025 California Delaware

Intel Capital 2200 Mission College Blvd, Santa Clara, CA 95054 California Delaware

Khosla Ventures 3000 Sand Hill Rd, Menlo Park, CA 94025 California Delaware

Lightspeed Venture Partners 2200 Sand Hill Rd., Menlo Park, CA 94025 California Delaware

Meta Platforms (formerly

Facebook Inc.) 1601 Willow Rd, Menlo Park, Califarnia California Delaware

Naval Ravikant 814 Montgomery St., San Francisco, CA California Delaware

Palychain Capital 548 Market Street, Suite 64375, San Francisco California Delaware

Quora Inc. 650 Castro St Mountain View, CA California Delaware

Rippling, Inc. 55 2nd St Ste 1500, San Francisco, California, 94105 California Delaware

Silvergate Bank 4250 Executive Sq Ste 300, La Jolla, California, 92037 {California Delaware

Tagomi Systems 201 Montgomery St Ste 263, Jersey City, NJ07302 California Delaware
1 Letterman Dr Building D Ste 500, San Francisco, CA

The Founders Fund 94129 California Delaware
1 Letterman Dr Building D Ste 500, San Francisco, CA

West Realm Shires, Inc. 94129 California Delaware
5425 Wisconsin Ave Ste 802, Chevy Chase, Maryland,

Durable Capital 20815 Maryland Delaware

Stansbury Partners 1125 N Charles St, Baltimore, Maryland, 21201 Maryland Delaware

Battery Ventures One Marina Park Drive, Boston, Massachusetts Massachusetts Delaware

Fidelity Management Trust

Company 245 Summer St., Boston, MA 92219 Massachusetts Delaware
800 Boylston St Ste 3300, Boston, Massachusetts,

Sunley House Capital 02199 Massachusetts Delaware

Forbes 3001 W Big Beaver Rd, Troy, Michigan Michigan Delaware

Doug Band CEO, Teneo 280 Park Ave Fl 4, New York City, New York, 10017 New York Delaware

Gemini Trust Company 600 Third Avenue, 2nd Floor New York, NY 10016 New York Delaware

OrbiMed Advisors, LLC 601 Lexington Ave Ste 54, New York, NY 10022 New York Delaware

Page 2 of 7

Defendants List

Defendant Title Service Address Business State Incorporated State
SkyBridge Capital 527 Madison Avenue, 4th Fl. New York, NY 10022 New York Delaware
Spark Capital 165 Mercer Street, Floor 3 New York City, NY 10012 New York Delaware
Thrive Capital Partners 295 Lafayette St Ste 701, New York, NY 10012 New York Delaware
SFT (Delaware) Management,
LLC 2 W 2nd St, Tulsa, OK 74103 Oklahoma Delaware
CMFG Ventures 5910 Mineral Point Rd, Madison, Wi 53705 Wisconsin Delaware
District of
Bitcoin Foundation 700 13th St NW Ste 600, Washington, DC 20005 Columbia District of Columbia
StarkWare 32 Ha'melacha St., Netanya Israel Israel
Global Poker Index 120 The Strand, G7R1017 Gzira Malta Malta
The William W. Bradley /
Revocable Trust Unknown New Jersey New Jersey
Allen & Company LLC 711 Fifth Avenue, New York New York New York
Libra Advisors 767 3rd Ave Fi 20, New York, NY 10017 New York New York
New York University 70 Washington Sq S, New York, NY 10012 New York New York
NYU President's Global Council 70 Washington Sq S, New York, NY 10012 New York New York
Signature Bank 565 5th Ave, New York, NY 10017 New York New York
Stanley S. Shuman Revocable
Trust 711 Fifth Avenue, New York New York New York
THSDFS LLC Series 5 Unknown New York New York
Public Investment Fund of Saudi
Arabia Unknown Saudi Arabia Saudi Arabia
The Kingdom of Saudi Arabia Unknown Saudi Arabia Saudi Arabia
Baillie Gifford Calton Square, 1 Greenside Row, Edinburgh, EH13AN Scotland Scotland
Commissioner,
Chris Hughes UNAIDS Avenue Appia 20 - 1202 Genéve Switzerland Switzerland
Mark Cuban Companies 5424 Deloache Ave, Dallas, Texas 75220 Texas Texas
United Arab
Three Arrows Capital Dubai Emirates United Arab Emirates

Page 3 of 7

Defendants List

Defendant Title Service Address Business State Incorporated State
Jasmine Ventures Worcester United Kingdom ‘United Kingdom
Virgin Group 66 Porchester Rd, United Kingdom United Kingdom United Kingdom

Integrated Whale Media
Investments

3001 W Big Beaver Rd, Troy, Michigan

Michigan

Unknown

The 1953 Trust

Unknown

US Virgin Islands

US Virgin Islands

Managing Member,

1 Letterman Dr Building D Ste 500, San Francisco, CA

Brian Singerman Founders Fund 94129 California
Executive, Ribbit
Capital & Bullfrog

Cynthia McAdam Capital | 364 University Ave, Palo Alto, CA 94301 California
Partner, Khosla

David Weiden Ventures 3000 Sand Hill Rd, Menlo Park, CA 94025 California

Dempsey Mork 4519 Admiralty Way, Suite A, Marina del Rey, California:California
Partner, Founders 1 Letterman Dr Building D Ste 500, San Francisco, CA

Everett Randle Fund 94129 California

Greg Tusar 548 Market St. #23008, San Francisco, CA California
Managing Director, :3000 Sand Hill Road Building 4, Suite 230, Menlo Park,

Hans Tung GGV Capital CA 94025 California

Jeremy Mork 4519 Admiralty Way, Suite A, Marina del Rey, CaliforniaiCalifornia
Trustee, above.

Jeremy Stoppelman CEO, Yelp, Inc. 140 New Montgomery St, San Francisco, United States ‘California

Jim Breyer 500 University Ave, Palo Alto, California, 94301 California

Jonathan Mork 4519 Admiralty Way, Suite A, Marina del Rey, California:California

Joseph Bankman 616 Serra Mall 200, Stanford, CA 94305 California
Managing Member, :1 Letterman Dr Building D Ste 500, San Francisco, CA

Keith Rabois Founders Fund 94129 California

Linda Fried 616 Serra Mall 200, Stanford, CA 94305 California

Page 4 of 7

Defendants List

Defendant Title Service Address Business State Incorporated State
Co-Founder,
Andreessen

Marc Andreessen Horowitz 2865 Sand Hill Rd Ste 101, Menlo Park, CA 94025 California
Trustee, above.
Former Salesforce

Marc R. Benioff CEO 415 Mission St 3rd Floor, San Francisco California
Partner, Founders :1 Letterman Dr Building D Ste 500, San Francisco, CA

Matias Van Thienen Fund 94129 California

Max Levchin CEO, Affirm 650 California St., 12th FI., San Francisco, CA 94108 California
Professor, Stanford

Mehran Sahami University 616 Serra Mall 200, Stanford, CA 94305 California
Partner, Founders 1 Letterman Dr Building D Ste 500, San Francisco, CA

Napoleon Ta Fund 94129 California
CEO, Polychain

Olaf Carlson-Wee Capital 548 Market Street, Suite 64375, San Francisco California
Managing Member, :1 Letterman Dr Building D Ste 500, San Francisco, CA

Peter Thiel Founders Fund 94129 California
The Philip H. Knight
Professor and Dean,
Emeritus, Stanford

Robert L. Joss University 616 Serra Mall 200, Stanford, CA 94305 California

Sam Bankman-Fried 616 Serra Mall 200, Stanford, CA 94305 California

Olwyn Alexander Unknown Ireland
Member, Lithuanian

Antanas Guoga (aka Tony G) National Parliament §53 Gedimino Ave. LT- 01109 Vilnius Lithuania

Page 5 of 7

Defendants List

Defendant Title Service Address Business State Incorporated State
Founder, Global

Alexandre Dreyfus Poker Index 120 The Strand, G2R1017 Gzira Malta
CFO, Sunley House (800 Boylston St Ste 3300, Boston, Massachusetts,

Jhaleh C. Ghassemi Capital 02199 Massachusetts
Managing Member,

Scott R. Tobin Battery Ventures One Marina Park Drive, Boston, Massachusetts Massachusetts
Trustee, above.

William Bradley Former Senator. Unknown New Jersey
SVP, Sirius Satellite

Andreas Lazar Radio 1221 Avenue Of The Americas, New York, NY 10020 New York
CEO, Skybridge

Anthony Scarramucci Capital 527 Madison Avenue, 4th Fl. New York, NY 10022 New York

Cameron Winklevoss 600 Third Avenue, 2nd Floor New York, NY 10016 New York
Chair, NYU :
President's Global

Chandrika Tandon Council 70 Washington Sq S, New York, NY 10012 New York
General Partner,

Jeremy Philips Spark Capital 165 Mercer Street, Floor 3 New York City, NY 10012 New York
Former President,

John Sexton New York Univesity :70 Washington Sq S, New York, NY 10012 New York
CEO, Thrive Capital

Joshua Kushner Partners 295 Lafayette St Ste 701, New York, NY 10012 New York
General Counsel,

Peter Dilorio Allen & Co 711 Fifth Avenue, New York New York
Founder, Libra

Ranjan Tandon Advisors 767 3rd Ave FI 20, New York, NY 10017 New York

Stanley F. Druckenmiller Trustee, above. Unknown New York
Trustee, above.
Senior Advisor,

Stanley S. Shuman Allen & Co 711 Fifth Avenue, New York New York

Tyler Winklevoss 600 Third Avenue, 2nd Floor New York, NY 10016 New York

Page 6 of 7

Defendants List

Defendant

Title

Service Address

Business State

Incorporated State

Co-chair, Charles

and Lynn
Schusterman Family
Stacy H. Schusterman Foundation 2 W 2nd St, Tulsa, OK 74103 Oklahoma
Former First
Minister of
Nicola Sturgeon Scottland St. Andrew's House Regent Road Edinburgh EH1 3DG_—=s ‘Scotland
Partner, Baillie
Tom Slater Gifford & Co Calton Square, 1 Greenside Row, Edinburgh, EH13AN Scotland
Eduardo Saverin Singapore Singapore
Chairman, The ,
H. Ross Perot Jr. Perot Group 3000 Turtle Creek Blvd, Dallas, Texas Texas
Mark Cuban 5424 Deloache Ave, Dallas, Texas 75220 Texas

Founder, Virgin

Richard Branson Group 66 Porchester Rd, United Kingdom United Kingdom
President, CMFG

Brian Kass Ventures 5910 Mineral Point Rd, Madison, Wi53705 Wisconsin

Mark Zuckerberg 1601 Willow Rd, Menlo Park, California California

Page 7 of 7

Facts

Each of the defendants has knowingly conspired, participated in, and benefited financially from a
decades-long fraudulent scheme.

The defendants’ actions have caused significant financial, emotional, psychological harm to plaintiff,
along with harm to plaintiff's health and safety.

In the late 1990s, Olwyn Alexander helped organize an elaborate network of Ponzi schemes (hereafter,
“scheme”) in her rote with the Alternative Assets division of Price Waterhouse in Dublin, Ireland.

The scheme leveraged the internet and network technology in new ways, bringing more decentralization
and collaboration to the computer-based Ponzi schemes that Mark Cuban and H. Ross Perot Jr. had
participated in since at least the early 1980s.

The scheme involved unregistered securities in Texas, often for oil drilling or medical technology.

Alexander helped set up offshore banks in the Caribbean to hide the scheme’s assets and funnel them to
and from banks in New York. Co-conspirators at Harvard University helped develop and improve upon

the technology necessary to operate the schemes.

becoming the digital payments platform PayPal. Affirm Holdings Inc., founded by Max Levchin in 2012,

Confinity Inc., co-founded by Peter Thiel and Max Levchin in 1998, was created in service of this scheme,
was created in service of this scheme.
|

Prior to founding Meta Platformed (formerly Facebook Inc.) at Harvard University in 2004, Mark
Zuckerberg was an active participant-in this scheme, developing network technology to help the scheme |
operate.

In 2004, when Facebook Inc. was founded by Zuckerberg, Eduardo Saverin, Dustin Moskovitz, Andrew
McCollum and Chris Hughes, it was in support of this scheme.

Investments in Facebook Inc, by Peter Thiel, Jim Breyer, and Accel in 2004 were made with the express
purpose of developing this scheme.

In or around 2010, Stanford University faculty Robert L. Joss, Joseph Bankman and Linda Fried and
others helped develop the legal mechanisms for Caribbean offshore banking that would be used to
develop an international cryptocurrency-based Ponzi scheme.

In 2010, brothers Jeremy Mork, Jonathan Mork and Dempsey Mork created a series of shell corporations
in the British Virgin Islands in service of the scheme.

Between 2010 and 2004, Virgin Group and Richard Branson solicited investments in the scheme, which
were funneled to the scheme via Clinkle, a fictitious payment platform start-up knowingly supported by
Stanford professor Mehran Sahami.

In or around 2014, Olaf Carlson-Wee created Polychain Capital in order to develop technology to further
decentralize the scheme with support from Peter Thiel, Brian Singerman, Keith Rabois, Napoleon Ta,
Everett Randle, Matias Van Thienen, and their venture capital firm, Founders’ Fund, along with Naval
Ravikant.
In or around 2014, Napoleon Ta, Greg Tusar and Tagomi Systems developed a high-frequency trading
platform in order to create a hidden, decentralized liquidity pool available to the scheme’s participants.

In 2018, StarkWare Industries was founded in order to further improve the technological tools on which
the scheme was built.

Cryptocurrency corporations FTX Trading Inc. and Binance Holdings Inc were founded as part of the
scheme by Sam Bankman-Fried and Changpeng Zhao, respectively, and were modeled off the shell
corporations created by the Mork brothers in 2010. Binance.US was also created as part of the scheme,
with nearly all ownership split between Three Arrows Capital and The West Realm Shires Ltd.

Investors in the scheme included the entities 2012 MRL Investments LLC, Jasmine Ventures, Coinbase,
Lighstpeed Venture Partners, Baillie Gifford, Spark Capital, Fidelity Management Trust Company, Thrive
Capital Partners, Ribbit Capital, Bullfrog Capital, Andreessen Horowitz, Emerson Collective Investments
LLC, Battery Ventures, Allan & Company LLC, Khosla Ventures, THSDFS LLC Series 5, GGV Capital, SFT
(Delaware) Management LLC, Durable Capital, Sunley House Capital, SMFG Ventures, Founders’ Fund,
CN2T Capital LLC, Intel Capital, and SkyBridge Capital, Jeremy Stoppelman Trustee UTD 3/16/10, The
William W. Bradley Revocable Trust, Stanley S$. Shuman Revocable Trust, Libra Advisors, The Marc R.
Benioff Revocable Trust U/A/D/ 12/03/2004, Mehran Sahami, StartX, the Kingdom of Saudi Arabia, and
the Public Investment Fund of Saudi Arabia.

Individual investors in the scheme included Max Levchin, Tom Slater, Jeremy Philips, Joshua Kushner,
Cynthia McAdam, Marc Andreessen, Scott R. Tobin, Peter Dilorio, Stanley $. Shuman, Andreas Lazar,

David Weiden, Marc R. Benioff, Stanley F. Druckenmiller, Hans Tung, Stacy H. Schusterman, Jhaleh C.
Ghassemi, Anthony Scarramucci, Ranjan Tandon and Brian Kass.

Antanas Guoga (known by his alias “Tony G”) helped develop and operate TheHendonMob.com, which
served as a coded, decentralized portal for scheme participants. TheHendonMob.com was sold to Global
Poker Index in 2013, founded by Alexandre Dreyfus, who continued the site’s role in the scheme.

Once the decentralized cryptocurrency Ponzi scheme was established, the technical model was
replicated by scheme participants such as Cameron Winklevoss and Tyler Winklevoss, founders of
Gemini Trust Company, along with Mark Cuban and Mark Cuban Companies.

The online question-and-answer platform Quora Inc. was created in 2009 to help legitimize the scheme
by providing planted answers in support of the scheme, and its participants.

In September, 2012, the Bitcoin Foundation was created in order to lobby members of the U.S.
government to support legislation that benefited the scheme and its participants.

In order to further shape a public narrative in support of the scheme Integrated Whale Media
Investments bought a controlling stake in Forbes beginning in 2014.

Money was solicited and internationally laundered in support of the scheme via New York University
(NYU} via the NYU President’s Global Council, developed by Chair Chandrika Tandon and former NYU
President John Sexton.

Money was solicited internationally laundered in support of the scheme via the Bill, Hillary & Chelsea
Clinton Foundation, which was created for this purpose by President Bill Clinton and Doug Band in 2001.

Money was internationally laundered in support of the scheme via OrbiMed Advisors, LLC. Beginning in
1998.

Beginning in 2016, Silvergate Bank provided banking services for many cryptocurrency companies that
participated in the scheme, including the Silvergate Exchange Network, a platform that allowed for
immediate conversion of funds from cryptocurrency to fiat currency. Signature Bank provided similar

- banking services to scheme participants.

On March 8, 2023, Silvergate Bank announced their liquidation, indicating that they no longer had
enough assets available to support the scheme, which was nearing insolvency.

Beginning the following day, Founders’ Fund and other venture capitalist participants of the scheme told
their investors to pull out of Silicon Valley Bank (SVB) with the successful intention of causing a bank run.

Scheme participants such as Forbes promoted the false narrative that the bank failures were due to
issues with regional banking and the United States Federal Reserve in order to position cryptocurrency
as a safe asset, leading to more investments and fewer withdrawals from scheme victims.

The intentional bank run was not a sudden plan: In 2020, Founders’ Fund partner Napoleon Ta became a
board member of payment processor Rippling Inc., which held their assets at Silicon Valley Bank. When
the bank failed, Rippling directed its customers to Brex, Inc. as an alternative, which received over $2
billion in deposits in the days following SVB’s failure.

Brex, which received substantial funding from Peter Thiel, Ribbit Capital, Durable Capita! and Baillie
Gifford, served as another liquidity pool for the scheme participants to utilize.

On February 15, 2023, long-time scheme participant Nicola Sturgeon resigned as the First Minister of
Scotland in order to prepare for the insolvency of Silvergate Bank and assist her con-conspirators in
organizing a bank run.

The trustee of The 1953 Trust developed and oversaw an elaborate blackmail network which grew
throughout the 1980s. When the above scheme developed, trustee’s elaborate blackmail network
helped ensure cooperation from scheme participants.

Individually and collectively, all named defendants have caused material harm to plaintiff, as described
in the Injuries section above.

Injuries
Injuries to plaintiff include:

e Financial loss due to economic inflation that resulted directly from this scheme

* Damage to personal security via access to private personal information

* Psychological damage as a result of intentional media misinformation, the erosion of civic
institutions and willful acts of economic terrorism

¢ Environmental damage due to fossil fuel emissions created directly in service of this scheme
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